Case: 24-2045     Document: 13     Page: 1   Filed: 08/26/2024




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                   ______________________

                 REALLY RIGHT STUFF,
                    Plaintiff-Appellant

                             v.

                FIELD OPTICS RESEARCH,
                     Defendant-Appellee
                   ______________________

                         2024-2045
                   ______________________

     Appeal from the United States District Court for the
 District of Utah in No. 2:20-cv-00345-DBB, Judge David
 Barlow.
                  ______________________

                         ORDER
      Upon consideration of the parties’ joint stipulation of
 voluntary dismissal of this appeal pursuant to Federal
 Rule of Appellate Procedure 42(b), with each side to bear
 its own costs,
    IT IS ORDERED THAT:
    (1) The appeal is dismissed.
Case: 24-2045    Document: 13     Page: 2      Filed: 08/26/2024




 2              REALLY RIGHT STUFF v. FIELD OPTICS RESEARCH




     (2) Each side shall bear its own costs.
                                               FOR THE COURT




 August 26, 2024
     Date

 ISSUED AS A MANDATE: August 26, 2024
